       Case 2:21-cv-00650-ECM-SMD Document 38 Filed 08/04/22 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

STEVEN CLAYTON THOMASON,                      )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )   CIVIL CASE NO. 2:21-cv-650-ECM
                                              )
DUETSCHE BANK NATIONAL                        )
TRUST CO.,                                    )
                                              )
       Defendant.                             )

                                          ORDER

       On July 22, 2022, the Plaintiff filed a Notice of Voluntary Dismissal under Rule 41(a).

(Doc. 34). Voluntary dismissal in compliance with Fed. R. Civ. P. 41(a)(1)(A)(i) is self-

executing. On August 1, 2022, the Court acknowledged the dismissal and directed the Clerk

of the Court to close this case. (Doc. 35).

       Now pending before the Court is the Defendant’s motion for a permanent injunction

to enjoin the state court proceedings (doc. 36).       This case has been dismissed.        The

Defendant’s motion seeks to have this Court exercise control over a state court and its

proceedings, which the Court finds both inappropriate and unnecessary here. The appropriate

course is for the Defendant to seek relief from the state court if necessary. Accordingly, it is

       ORDERED that the Defendant’s motion for a permanent injunction to enjoin the state

court proceedings (doc. 36) is DENIED.

       DONE this 4th day of August, 2022.


                                         /s/ Emily C. Marks
                                   EMILY C. MARKS
                                   CHIEF UNITED STATES DISTRICT JUDGE
